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                                     #1529



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

JAMES E. ROLLINS, Jr., et al,

      Defendants.                                   Case No. 05-cr-30133-DRH-5


                                     ORDER

HERNDON, District Judge:

            Before the Court is defendant James E. Rollins, Jr.’s Motion to Continue

Sentencing (Doc. 479). Defendant seeks a continuance because he has yet to receive

a copy of the Presentence Investigation Report; review of this document is necessary

so that Defendant may file his objections thereto, prior to the sentencing hearing.

For good cause shown, Defendant’s Motion (Doc. 479) is GRANTED. Defendant

James E. Rollins, Jr.’s Sentencing Hearing, currently set for June 8, 2007 is hereby

rescheduled for Friday, September 21, 2007 at 1:30 p.m.

            IT IS SO ORDERED.

            Signed this 10th day of May, 2007.

                                                     /s/       David RHerndon
                                                     United States District Judge




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